 1   John W. Dillon (SBN 296788)
        jdillon@dillonlawgp.com
 2
     DILLON LAW GROUP APC
 3   2647 Gateway Road
     Suite 105, No. 255
 4
     Carlsbad, California 92009
 5   Phone: (760) 642-7150
     Fax: (760) 642-7151
 6
 7   George M. Lee (SBN 172982)
 8      gml@seilerepstein.com
     SEILER EPSTEIN LLP
 9   275 Battery Street, Suite 1600
10   San Francisco, California 94111
     Phone: (415) 979-0500
11   Fax: (415) 979-0511
12
     Attorneys for Plaintiffs
13
14                           UNITED STATES DISTRICT COURT

15                 FOR THE SOUTHERN DISTRICT OF CALIFORNIA
16
     JAMES MILLER, et al.,                              Case No. 3:19-cv-01537-BEN-JLB
17
18                Plaintiffs,                           PARTIES’ JOINT MOTION TO STAY
                                                        PROCEEDINGS RELATING TO
19   vs.                                                ATTORNEYS’ FEES AND COSTS
20                                                      PENDING APPEAL
     ROB BONTA, in his official capacity as
21   Attorney General of California, et al.,            Judge: Hon. Roger T. Benitez
22                                                      Courtroom 5A
                  Defendants.
23                                                      Judgment Date: June 4, 2021
24
25
     //
26
     //
27
     //
28
                                                        –1–
             JOINT MOTION TO STAY PROCEEDINGS RELATING TO ATTORNEYS’ FEES AND COSTS PENDING APPEAL
                                           CASE NO. 3:19-cv-01537-BEN-JLB
 1               JOINT MOTION TO STAY PROCEEDINGS RELATING TO
                   ATTORNEYS’ FEES AND COSTS PENDING APPEAL
 2
 3            Plaintiffs James Miller, Wendy Hauffen, Neil Rutherford, Adrian Sevilla, Ryan

 4   Peterson, Gunfighter Tactical, LLC, John Phillips, PWGG, L.P., San Diego County

 5   Gun Owners PAC, California Gun Rights Foundation, Second Amendment

 6   Foundation, and Firearms Policy Coalition, Inc. (“Plaintiffs”), together with

 7   Defendants Rob Bonta, in his official capacity as Attorney General of the State of

 8   California, and Luis Lopez, in his official capacity as Director of the Department of
 9   Justice Bureau of Firearms (“Defendants”), by and through their counsel undersigned,
10   respectfully request that this Court stay proceedings related to the recovery of
11   attorneys’ fees or costs incurred in this action, for a period of thirty (30) days
12   following the completion of all appellate proceedings, pursuant to Fed. R. Civ. Pro.
13   54(d). This joint motion is made herein upon the following facts which are stipulated
14   to by the Parties:
15                                           STIPULATED FACTS
16            WHEREAS, on June 4, 2021, this Court entered Judgment in this matter,
17   finding in favor of Plaintiffs and against Defendants [ECF 116];
18            WHEREAS, Defendants filed their Notice of Appeal to the Ninth Circuit Court
19   of Appeals on June 10, 2021 [ECF 117], docketed Case No. 21-55608 (“Appeal”);
20            WHEREAS, the time to file a claim for attorneys’ fees and costs would
21   ordinarily be filed no later than 14 days after entry of judgment, pursuant to FRCP
22   54(d);
23            WHEREAS, on June 11, 2021, the parties, by and through counsel undersigned,
24   met and conferred, and agreed to a stay of proceedings related to the recovery of
25   attorneys’ fees or costs incurred in this action until final resolution of the Appeal, in
26   the interest of judicial economy and to prevent potentially wasteful litigation;
27            WHEREAS, Defendants dispute the entitlement of one of Plaintiffs’ witnesses
28   to certain claimed deposition-related expenses, but agreed in April 2021 to pay that

                                                          –2–
               JOINT MOTION TO STAY PROCEEDINGS RELATING TO ATTORNEYS’ FEES AND COSTS PENDING APPEAL
                                             CASE NO. 3:19-cv-01537-BEN-JLB
 1   witness the amount of expenses that Defendants do not dispute; and
 2         WHEREAS, the parties agree that good cause exists to grant a stay of
 3   proceedings related to the recovery of attorneys’ fees or costs incurred in this action
 4   until final resolution of the Appeal,
 5         The parties hereto hereby stipulate and agree that proceedings related to the
 6   recovery of attorneys’ fees or costs incurred in this action should be stayed until 30
 7   days after completion of all appellate proceedings in the Appeal.
 8                 POINTS AND AUTHORITIES IN SUPPORT OF JOINT MOTION
 9         Under Fed. R. Civ. Pro. 54(d), a claim for attorneys’ fees and costs must
10   ordinarily be filed no later than 14 days after the entry of judgment, “[u]nless […] a
11   court order provides otherwise.” A district court may thus defer litigation of attorneys’
12   fees and costs until a pending appeal has been decided. Fed. R. Civ. Pro. 54, advisory
13   committee Notes to 1993 amend. (“If an appeal on the merits of the case is taken, the
14   court may rule on the claim for fees, may defer its ruling on the motion, or may deny
15   the motion without prejudice, directing under subdivision (d)(2)(B) a new period for
16   filing after the appeal has been resolved.”). The advisory committee notes to the 1993
17   amendment to Rule 54(d) have been widely interpreted to permit deferral of a claim
18   for fees and costs. G.P.P., Inc. v. Guardian Protection Products, Inc., 1:15-cv-00321-
19   SKO, 2018 WL 932087 at * 2 (E.D. Cal. 2018) (and cases collected therein); Apple
20   Inc. v. Samsung Elec. Co., Case No. 11-cv-01846–LHK, 2014 WL 4745933, *4 (N.D.
21   Cal. Sept. 19, 2014) (“[T]he Court acknowledges that it has the discretion to defer a
22   decision on costs pending resolution of Samsung's appeal....”).
23         This is a matter within the court’s discretion, and this Court granted similar
24   relief in Duncan v. Becerra, Case No. 3:17-cv-01017-BEN-JLB, Dkt. 101 (filed
25   4/18/19).
26
27
28
                                                        –3–
             JOINT MOTION TO STAY PROCEEDINGS RELATING TO ATTORNEYS’ FEES AND COSTS PENDING APPEAL
                                           CASE NO. 3:19-cv-01537-BEN-JLB
 1                                             CONCLUSION
 2         Accordingly, and pursuant to the parties’ stipulation recited above, the parties
 3   respectfully request that this Court find good cause to enter an order staying
 4   proceedings relating to attorneys’ fees and costs, until 30 days after completion of all
 5   appellate proceedings in this matter, as set forth in the proposed form of order
 6   submitted herewith.
 7         Respectfully submitted,
 8    Dated: June 16, 2021                              SEILER EPSTEIN LLP
 9
10                                                      s/ George M. Lee
                                                        George M. Lee
11
12                                                      Attorneys for Plaintiffs
13
      Dated: June 16, 2021                              ROB BONTA
14                                                       ATTORNEY GENERAL OF CALIFORNIA
15                                                      MARK R. BECKINGTON
                                                         Supervising Deputy Attorney General
16
17                                                      s/ John D. Echeverria
                                                        JOHN D. ECHEVERRIA
18                                                      Deputy Attorney General
19
                                                        Attorneys for Defendants
20
21
22
23
24
25
26
27
28
                                                        –4–
             JOINT MOTION TO STAY PROCEEDINGS RELATING TO ATTORNEYS’ FEES AND COSTS PENDING APPEAL
                                           CASE NO. 3:19-cv-01537-BEN-JLB
 1                                          CERTIFICATION
 2         Pursuant to Southern District of California Electronic Case Filing
 3   Administrative Policies and Procedures § 2(f)(4), I hereby certify that the content of
 4   this document is acceptable to all persons who signed it, as set forth above, and that
 5   their electronic signatures were authorized.
 6
 7   Dated: June 16, 2021                                s/ George M. Lee
                                                         George M. Lee
 8
 9
10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28
                                                        –5–
             JOINT MOTION TO STAY PROCEEDINGS RELATING TO ATTORNEYS’ FEES AND COSTS PENDING APPEAL
                                           CASE NO. 3:19-cv-01537-BEN-JLB
